Case 1:20-cv-08497-AT Document11 Filed 10/15/20 Page 1 of 1

 

 

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK SEES EON EES ED
PHARO GAIA FUND, LTD., PHARO MACRO DOC #:
FUND, LTD., and PHARO TRADING FUND, DATE FILED: _10/15/2020__
LTD.

Plaintiffs,

-against- 20 Civ. 8497 (AT)

THE BOLIVARIAN REPUBLIC OF ORDER
VENEZUELA,

Defendant.

 

 

ANALISA TORRES, District Judge:

To protect the public health, while promoting the “just, speedy, and inexpensive determination
of every action and proceeding,” Fed. R. Civ. P. 1, it is ORDERED pursuant to Rules 30(b)(3) and
30(b)(4) of the Federal Rules of Civil Procedure that all depositions in this action may be taken via
telephone, videoconference, or other remote means. It is further ORDERED pursuant to Rule
30(b)(5) that a deposition will be deemed to have taken place “before an officer appointed or
designated under Rule 28” if such officer attends the deposition using the same remote means used to
connect all other participants, so long as all participants (including the officer) can clearly hear and be
heard by all other participants. The parties are encouraged to engage in discovery through remote
means at every available opportunity.

SO ORDERED.

Dated: October 15, 2020
New York, New York

On

ANALISA TORRES
United States District Judge
